Case 2:04-cV-03028-.]DB-tmp Document 5 Filed 05/10/05 Page 1 of 2 Page|D 8

  

 

UNITED STA TES DISTRICT COURT F"l 313 i'?"v' .. D.c.
WESTERN DISTRICT OF TENNESSEEU; fw m PH h 32
WESTERN DIVISION ` '
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.»Es.;¥if€ i"~?f. r‘~;¢‘.~;' CT_
"e i`) -Ll)~-' 'ri-.i, dismisses
TIJUANA BOSWELL, JUDGMENT IN A CIVIL CASE
Plaintiff,
V.
IKON 0FFICE soLUTIONS, CASE No= 04.3028-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered.

IT IS SO ORDERED AND AD.IUDGED that in accordance With the ()rder Of Dismissal
entered on May 9, 2005, this cause is hereby dismissed With prejudice.

OVED:

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J. D NIEL BREEN
CIN.I%ED STATES DISTRICT COURT

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Data Clerk of Court

 

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With sole 53 and/or 79(3) FHCP on sg//§Q 'O& 5

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-03028 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

Tijuana Boswell
P.O. BOX 820173
Memphis7 TN 3 81 82--017

Honorable J. Breen
US DISTRICT COURT

